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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


KEVIN CLAPP,                           )
     Plaintiff                         )
                                       )     Civil Action No. 18-10426-ADB
V.                                     )
                                       )
CHARLES BAKER, et. al.                 )
    Defendants,                        )
                                       )


               DEFENDANTS’ MOTION IN LIMINE RE PRIOR
         COMPLAINTS AGAINST OR DISCIPLINE OF DEFENDANTS
________________________________________________________________________

        Now come Defendants and move in limine to preclude Plaintiff from referring to

or attempting to introduce testimony or evidence regarding any complaint made against

any Defendant in the course of their duties or any discipline that may have been imposed

by the State Police. Plaintiff was allowed by the Court to discover complaints that had

been made against the Defendants in the course of their careers as State Police Officers

and any discipline that was imposed. There are no complaints or discipline that are

relevant to the issues in this case.

        Pursuant to Fed. R. Evid. 404(b):

        Evidence of other crimes, wrongs or acts is not admissible to prove character of a
        person in order to show action in conformity therewith.

        The First Circuit analyzes issues raised under 404(b) by asking whether the

evidence is offered for a legitimate purpose, (See Huddleson v. United States, 485 U.S.

681, 108 S.Ct. 1496, 1499 (1988)), and, if so, whether considerations of substantial

prejudice require it to be suppressed under Fed. R. Evid. 403. United States v. Fields,

871 F.2d 188, 196 (1st.Cir. 1989). Plaintiff should not be allowed to refer to any
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complaint against any Defendant, or any discipline they may have received, without first

bringing the issue to the Court’s attention, establishing the relevance and probative value,

establishing how the proposed evidence would not be hearsay, and having the Court first

determine that any probative value is not outweighed by the concerns expressed in Rule

403: that the introduction would cause unfair prejudice, confuse the issues, mislead the

jury, cause undue delay or waste time.



                                                     Respectfully submitted,
                                                     ALL DEFENDANTS,
                                                     By one of their attorneys on behalf
                                                     of all,
,

                                                     ____/s/ Brian Rogal_________
                                                     Brian Rogal, BBO #424920
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                              CERTIFICATE OF SERVICE

       I hereby certify that I have served a true copy of the foregoing document upon
each other attorney of record by the ECF system and on Plaintiff by first class mail.

January 28, 2022                                        /s/ Brian Rogal         .
